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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                    Plaintiff

                                                          DECISION and ORDER
-vs-
                                                          11-CR-6083

JEFFREY TYLER

                            Defendant
__________________________________________

       Siragusa, J. This case was referred by order of the undersigned, docketed May 2, 2011,

ECF No. 2, to Magistrate Judge Marian W. Payson, pursuant to 28 U.S.C. § 636(b)(1)(A)-(B).

On January 3, 2013, Defendant filed an omnibus motion, ECF No. 345, seeking various forms

of relief, including suppression of statements made on February 23, 2012. Regarding

Defendant’s application to suppress statements, an evidentiary hearing was held on March 12,

2013, ECF No. 389, and a transcript of that proceeding was filed on March 29, 2013, ECF No.

395. On November 27, 2013, Magistrate Judge Payson filed a Report and Recommendation

(“R&R”), ECF No. 442 recommending that the Court deny Defendant’s motion to suppress.

The time has passed for Defendant to file any objections to the R&R, and none have been filed.

       Accordingly, for the reasons set forth in Magistrate Judge Payson’s R&R, ECF No. 442,

Defendant’s application to suppress statements made on February 23, 2012 is denied.

       IT IS SO ORDERED.

Dated: Rochester, New York
       February 13, 2015

                            ENTER:

                                            /s/ Charles J. Siragusa
                                            CHARLES J. SIRAGUSA
                                            United States District Judge
